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                                 MARIA CENTRELLA




January 24, 2024


Hon. Lewis A. Kaplan
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312


Dear Judge Kaplan,

        As the sentencing of Sam Bankman-Fried approaches I am writing to you as a
mother of a 34-year-old son who is on the Autism spectrum (known for purposes of this
letter as Aspergers) as is Sam, which I understand you are aware of. I have no opinion
as to his guilt or innocence under the law, but do want to share with you my experiences
with my son that hopefully might give you some pause to reflect on Sam’s behavior and
mental state leading up to and during the trial.

         I was not familiar with Sam and his story until I watched a 60 Minutes interview
with Michael Lewis, the author of his biography, in Oct, 2023. As he described Sam I
saw my son and kept wondering why Aspergers never came up in the segment,
because those of us knowledgeable about it, could see his behavior, his mannerisms …
and his brilliance… as huge indicators of him being on the spectrum. I did not follow the
trial closely but did look for some kind of public acknowledgement of his condition.

        However, with his conviction and the way he was being described at trial, I felt
compelled to reach out to his lawyer to ask if Sam had been diagnosed. I never heard
back but one of my other sons found Joe Bankman’s email and I sent a note to him in
November asking him the same question because I felt so strongly that there but for the
grace of God goes my son. I told him that his son sounds very much like my own – his
mannerisms, thinks in numbers (my son is discovering Pi patterns at the moment),
brilliant, very good at making money (has his own business), same dress style, or lack
thereof, obsessive, socially awkward... I could go on. In fact, it freaked me out.

        I bring this forward because my son has had a couple of brushes with the law -
all very stupid and innocent in that either his actions were misinterpreted or he was
clueless and didn't understand what was going on. This is not unusual for those with
Aspergers. Fortunately, all were rectified but all left a traumatic mark on him, too.

      Mr. Bankman did respond recently to my email and let me know that Sam had
been diagnosed as on the Autism spectrum and that you and the Prosecutor were made
aware as well. I have no idea how familiar you are with Aspergers, particularly those



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who are out working and supporting themselves, but I can speak from experience that
the mind of those on the spectrum works differently. Though I have never met Sam, I
firmly believe that while he may be an MIT grad - he did not fully understand the scope
of what was going on and did not have malicious intent.

        Truthful to a fault, these wonderful people are the outliers of our world (not a
disability) who make all the great discoveries (Einstein) but most have difficulty with
executive functioning, especially when it gets chaotic. They tend to shut down then and
I can only imagine how chaotic Sam’s world was both when running a business with
what sounds like little controls in place, and during the trial. I know his altruistic pursuits
could only have been heartfelt because my son believes he has found the cure for
cancer through his work with numbers and wants to save the world. I am just thankful
that his brushes with the law did not involve him having to take the stand because that
would have been a disaster. He would have talked and talked and driven everyone
crazy while thinking he is explaining it all so well.

       My husband and I did not know our son was on the spectrum untill he was
around 31, about three years ago, and had a traumatic event that caused him what is
called "Autism burnout." We always knew he was smart, quirky, odd, became obsessive
about an area of interest, and socially awkward but did not realize he was on the
spectrum until then.

       Thank you for your consideration of what I have said as you ponder this young
man’s future. There is every reason to believe he could contribute so much more to
society if given the chance… and understanding.

Sincerely,



Maria Centrella




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